                                          UNITED STATES COURT OF APPEALS
                                           DISTRICT OF COLUMBIA CIRCUIT
                                                         333 Constitution Avenue, NW
                                                          Washington, DC 20001-2866
                                                 Phone: 202-216-7000 | Facsimile: 202-219-8530




                                                   CIVIL DOCKETING STATEMENT
                                All Cases Other than Administrative Agency Cases (To be completed by appellant)
 1. CASE NO. 24-1130                                                           2. DATE DOCKETED: 05/14/2024
  3. CASE NAME (lead parties only) Firebaugh, et al.                    v. Garland
 4. TYPE OF CASE:           District Ct -   US Civil     Private Civil    Criminal        Bankruptcy
                           Bankruptcy - if direct from Bankruptcy Court          Original proceeding
 5. IS THIS CASE REQUIRED BY STATUTE TO BE EXPEDITED?                              Yes       No
     If YES, cite statute
 6. CASE INFORMATION:
    a. District Court Docket No.              Bankruptcy Court Docket No.                 Tax Court Docket No.
        Civil Action                          Bankruptcy                                  Tax
        Criminal                              Adversary
        Miscellaneous                         Ancillary
   b. Review is sought of:
          Final Order        Interlocutory Order appealable as of right     Interlocutory Order certified for appeal
   c. Name of judge who entered order being appealed:
        Judge                                            Magistrate Judge
   d. Date of order(s) appealed (use date docketed):                                         e. Date notice of appeal filed:
   f. Has any other notice of appeal been filed in this case?                          Yes         No    If YES, date filed:
   g. Are any motions currently pending in trial court?     Yes                        No         If YES, date filed:
       If YES, identify motion
   h. Has a transcript of proceedings been ordered pursuant to FRAP 10(b)?                  Yes     No
      If NO, why not?   Original proceeding filed in this Court in accordance with Pub. L. No. 118-50, Div. H, § 3(a)-(b).
    i. Has this case been before the Court under another appeal number?           Yes Appeal #                      No
    j. Are any cases involving the same underlying order or, to counsel's knowledge, involving substantially the same
       issue, currently pending before the District Court, this Court, another Circuit Court, or the Supreme Court?
          Yes       No If YES, give each case's court and case name, and docket number:
       TikTok Inc. v. Garland, No. 24-1113 (D.C. Cir. May 7, 2024)
   k. Does this case turn on validity or correct interpretation or application of a statute?                      Yes          No
                                                          Protecting Americans from Foreign Adversary Controlled Applications Act,
      If YES, give popular name and citation of statute Pub. L. No. 118-50, 138 Stat. 895, Div. H (2024).
   7. Have the parties attempted to resolve issues in this case through arbitration, mediation, or another alternative for
      dispute resolution?     Yes       No If so, provide program name and participation dates

  Signature /s/ Ambika Kumar                              Date June 6, 2024
  Name of Party Firebaugh, Sexton, Cadet, Martin, Spann, Tran, Townsend, King
  Name of Counsel for Appellant/Petitioner Ambika Kumar
  Address Davis Wright Tremaine LLP, 920 Fifth Avenue, Suite 3300, Seattle, Washington 98104
  Phone ( 206 ) 757-8030           Fax ( 206 ) 757-7030
                                                        ATTACH A CERTIFICATE OF SERVICE
Note: If counsel for any other party believes that the information submitted is inaccurate or incomplete, counsel may so advise the Clerk within 7
      calendar days by letter, with copies to all other parties, specifically referring to the challenged statement. Attach a certificate of service to
      this form.
         USAC Form 42
         August 2009 (REVISED)
                         CERTIFICATE OF SERVICE

      I hereby certify that I caused the foregoing to be electronically filed with the

United States Court of Appeals for the District of Columbia Circuit by using the

appellate CM/ECF system on June 6, 2024.

      I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.




DATED: June 6, 2024

                                              /s/ Ambika Kumar
                                              Ambika Kumar

                                              Counsel for Petitioners
